             Case 2:10-cr-00304-MCE Document 204 Filed 05/01/13 Page 1 of 2


 1   DINA L. SANTOS, Bar #204200
     A Professional Law Corporation
 2   428 J Street, 3rd Floor
     Sacramento, California 95814
 3   Telephone: (916) 447-0160
 4
 5   Attorney for Defendant
     SALVADOR REYES-SARAVIA
 6
 7
 8                                  IN THE UNITED STATES DISTRICT COURT
 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,                     )   No. CR-S 010-304 MCE
                                                   )
13                           Plaintiff,            )
                                                   )   STIPULATION AND ORDER RESETING J&S
14          v.                                     )
                                                   )
15   SALVADOR REYES-SARAVIA,                       )
                   Defendant.                      )
16                                                 )
     _______________________________               )
17                                                 )
18          IT IS HEREBY STIPULATED by and between Assistant United States Attorney Michael
19   Beckwith, Counsel for Plaintiff, and Attorney Dina L. Santos, Counsel for Defendant Salvador Reyes-
20   Saravia, that the date for Judgement and Sentencing be re-scheduled to June 13, 2013. There are pending
21   matters that may affect the ultimate sentence recommended by the government that remain outstanding.
22
23
24          IT IS SO STIPULATED.
25
26   Dated: April 26, 2013                             /S/ Dina L. Santos
                                                       DINA L. SANTOS
27                                                     Attorney for
                                                       Salvador Reyes-Saravia
28
             Case 2:10-cr-00304-MCE Document 204 Filed 05/01/13 Page 2 of 2


 1
     Dated: April 26, 2013                      /S/ Michael Beckwith
 2                                              MICHAEL BECKWITH
                                                Assistant United States Attorney
 3                                              Attorney for Plaintiff
 4
 5
                                             ORDER
 6
            IT IS SO ORDERED.
 7
 8   Date: April 30, 2013
 9   _____________________________________

10
                                             ___________________________________________
11                                           MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                             UNITED STATES DISTRICT COURT
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                2
